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 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
   BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
______________________________________________
                                               )
TRINA SOLAR (VIETNAM) SCIENCE &                )
TECHNOLOGY CO., LTD., ET AL.,                  )
                                               )
                     Plaintiffs,               )
                                               )
                and,                           ) Ct. No. 23-00228
                                               )
FLORIDA POWER & LIGHT COMPANY,                 )
                                               )
                     Plaintiff-Intervenor,     )
                                               )
               v.                              )
                                               )
UNITED STATES                                  )
                                               )
                     Defendant,                )
                                               )
               and,                            )
                                               )
AUXIN SOLAR INC., ET ANO.,                     )
                                               )
                     Defendant-Intervenors.    )
______________________________________________ )

 MEMORANDUM IN SUPPORT OF MOTION FOR JUDGMENT
UPON THE AGENCY RECORD OF PLAINTIFFS TRINA SOLAR
  (VIETNAM) SCIENCE & TECHNOLOGY CO., LTD., ET AL.

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Dated: June 25, 2024                   Counsel to Plaintiffs
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                               GLOSSARY


    Abbreviations                                Term


“minor or insignificant”
                           Statutory factors under 19 U.S.C. § 1677j(b)(2)
factors


                           Trina Solar (Vietnam) Science & Technology Co.,
“Trina” or “Plaintiffs”    Ltd., Trina Solar Energy Development Company
                           Limited, and Trina Solar Co., Ltd.


AD/CVD                     Antidumping and Countervailing Duty

                           American Solar Manufacturers Against Chinese
A-SMACC
                           Circumvention
Auxin                      Auxin Solar Inc.
                           Letter from Cassidy Levy Kent (USA) LLP to the
                           U.S. Department of Commerce, Crystalline
                           Silicon Photovoltaic Cells, Whether Or Not
                           Assembled Into Modules From The People’s
Auxin Circ. Req            Republic Of China, Auxin Solar Placing Petition
                           on Record, Case Nos. A-570-979, C-570-980
                           (Anti-Circumvention Inquiry Concerning
                           Malaysia, Vietnam, and Thailand) (Feb. 18,
                           2022)
                           Allegation from Cassidy Levy Kent LLP, “Auxin
Circ. Allegation           Solar Placing Petition on Record,” (Feb. 18,
                           2022), Appx1231–Appx1326.
Commerce                   U.S. Department of Commerce
CSPV                       Crystalline Silicon Photovoltaic




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                           Issues and Decision Memorandum for the
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                           Socialist Republic of Vietnam, (Dep’t of
                           Commerce Aug. 17, 2023), Appx1050–Appx1215.

                           Antidumping and Countervailing Duty Orders
                           on Crystalline Silicon Photovoltaic Cells,
                           Whether or Not Assembled Into Modules, from
                           the People’s Republic of China: Final Scope
Final Determination        Determination and Final Affirmative
                           Determinations of Circumvention with Respect to
                           Cambodia, Malaysia, Thailand, and Vietnam,
                           88 Fed. Reg. 57,419 (Aug. 23, 2023), Appx1216–
                           1230.

                           Memorandum from James Maeder to Lisa
                           Wang, Antidumping and Countervailing Duty
                           Orders on Crystalline Silicon Photovoltaic Cells,
                           Whether or Not Assembled Into Modules, from
Prelim Memo                the People’s Republic of China, Preliminary
                           Decision Memorandum for the Circumvention
                           Inquiry With Respect to the Kingdom of
                           Thailand, Case No. A-570-979 (Circumvention
                           Inquiry Thailand 2022) (Dec. 1, 2022)

Q&V                        Quantity and Value
R&D                        Research and Development
                           Letter from Akin Gump Strauss Hauer & Feld
                           LLP, “NextEra Comments on Auxin’s
                           Circumvention Ruling Request,” (May 2, 2022),
                           at Attachment 13 (citing Commerce
Scope Clarification        Memorandum, “Scope Clarification:
Memo                       Antidumping and Countervailing Duty
                           Investigations of Crystalline Silicon Photovoltaic
                           Cells, Whether or Not Assembled Into Modules,
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                           2012)

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                               Crystalline Silicon Photovoltaic Cells, Whether
                               or Not Assembled Into Modules from the People’s
                               Republic of China: Amended Final
                               Determination of Sales at Less Than Fair Value,
                               and Antidumping Duty Order, 77 Fed. Reg.
Solar Cells Orders             73018 (Dep’t Commerce Dec. 7, 2012);
                               Crystalline Silicon Photovoltaic Cells, Whether
                               or Not Assembled Into Modules, from the People’s
                               Republic of China: Countervailing Duty Order,
                               77 Fed. Reg. 73017 (Dep’t Commerce Dec. 7,
                               2012)
                               Certain Crystalline Silicon Photovoltaic
                               Products From the People's Republic of China:
Solar Products China           Final Determination of Sales at Less Than Fair
Det.                           Value, 79 Fed. Reg. 76970 (Dep’t Commerce Dec.
                               23, 2014), and accompanying Issues and
                               Decision Memo
                               Certain Crystalline Silicon Photovoltaic
                               Products From the People's Republic of China:
                               Antidumping Duty Order; and Amended Final
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                               Affirmative Countervailing Duty Determination
                               and Countervailing Duty Order, 80 Fed. Reg.
                               8592 (Feb. 18, 2015)
SolarWorld                     SolarWorld Industries America, Inc.
                               Uruguay Round Agreements Act, Statement of
SAA                            Administrative Action, H.R. Rep. No. 103-316
                               (1994




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            MEMORANDUM IN SUPPORT OF MOTION FOR
             JUDGMENT UPON THE AGENCY RECORD

       Plaintiffs Trina Solar (Vietnam) Science & Technology Co., Ltd.,

Trina Solar Energy Development Company Limited, and Trina Solar

Co., Ltd. (collectively, “Trina” or “Plaintiffs”), in their role as plaintiffs

in the above-captioned matter, hereby submit this Memorandum in

Support of their Motion for Judgment upon the Agency Record in

accordance with Rule 56.2(c) of the Rules of this Court. For the reasons

set forth below, Plaintiffs respectfully request that the Court reverse

the challenged determination of the U.S. Department of Commerce

(“Commerce”), and remand with instructions consistent with this

Memorandum and the Court’s findings.


I.     STATEMENT PURSUANT TO RULE 56.2(C)

       A.    Administrative Determination Under Review

       This action is an appeal from Commerce’s final determination in

Antidumping and Countervailing Duty Orders on Crystalline Silicon

Photovoltaic Cells, Whether or Not Assembled Into Modules, from the

People’s Republic of China: Final Scope Determination and Final

Affirmative Determinations of Circumvention with Respect to Cambodia,


                                       1
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Malaysia, Thailand, and Vietnam, 88 Fed. Reg. 57,419 (Aug. 23, 2023),

Appx1216–1230 (“Final Determination”), and accompanying Issues and

Decision Memorandum for the Circumvention Inquiry With Respect to

the Socialist Republic of Vietnam, (Dep’t. of Commerce Aug. 17, 2023),

(“Decision Memo”), Appx1050–Appx1215.

         B.   Issues Presented

         Plaintiffs request that this Court hold that the Final

Determination is unsupported by substantial evidence and otherwise

not in accordance with law and that the Court remand the Final

Determination with instructions to issue a new determination that is

consistent with the Court’s decision. Plaintiffs seek judgment on the

agency record with respect to the following issues:

    i.        Whether Commerce’s affirmative finding of
              circumvention in Vietnam is supported by substantial
              evidence when contrasted with Commerce’s finding
              that the nature of production of crystalline silicon
              photovoltaic (“CSPV”) cells and modules is significant
              and complex?

         No. In accordance with 19 U.S.C. § 1677j(b)(2)(C), Commerce

found that the nature of the production process for CSPV cells and

modules is an extensive, significant, and technologically advanced

process. Antidumping and Countervailing Duty Orders on Crystalline

                                       2
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Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules,

from the People’s Republic of China: Preliminary Affirmative

Determinations of Circumvention with Respect to Cambodia, Malaysia,

Thailand, and Vietnam, 87 Fed. Reg. 75221 (Dec. 8, 2022) (“Prelim.

Determination”), Appx1031-Appx1041, and accompanying preliminary

decision memorandum (Dec. 1, 2022) (“Prelim Memo”), Appx1000-

Appx1030, at Appx1017-1020 (unchanged in Decision Memo, P.R. 749,

Appx1090-1094). Commerce determined, in comparison with ingot and

wafer production, that the production of CSPV cells and modules

involves more technological improvements, a greater number of

workers, more production steps, a greater number of inputs, and a more

extensive transformation. Decision Memo, Appx1093-1094. Further,

Commerce found that the production of CSPV cells requires

“sophisticated, precise, and technologically advanced equipment” and

“involves more than attaching Chinese components together.” Id.,

Appx1094. Notwithstanding, Commerce illogically concluded that the

process of assembly or completion of CSPV cells and modules is “minor

and insignificant.” Id., Appx1100. Commerce’s conclusion is wholly

incongruous with its detailed findings under 19 U.S.C. § 1677j(b)(1)(C),


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which found that the production of CSPV cells and modules involves

significant (and not “insignificant”), extensive (and not “minor”)

processes. Commerce’s affirmative finding of circumvention is therefore

unsupported by substantial evidence.

    ii.         Whether Commerce’s decision to apply its
                circumvention finding on a country wide basis was
                supported by substantial evidence and is otherwise in
                accordance with law?

          No. The record does not support Commerce’s affirmative finding

of circumvention on a country-wide basis. Final Determination, at

57420, Appx1217. One mandatory respondent received a negative

finding of circumvention (Boviet Solar Technology Co., Ltd.) 1 and

numerous non-examined companies responded to Commerce’s requests

for information and fully cooperated in the proceeding.                 The second

mandatory respondent did not fully participate in the inquiry (Vina

Solar Tehcnology Co., Ltd.), 2 but Commerce failed to follow and apply

AFA provisions under 19 U.S.C. § 1677e(b)(1) to non-examined

companies, and therefore the country-wide application of its AFA-based




          1 Final Determination, at 57425, Appx1222.
          2 Id., at 57420, Appx1217 (applying total adverse facts available to Vina after

the company declined to participate in verification).
                                             4
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affirmative circumvention finding was not supported by substantial

evidence and not in accordance with law.

II.     Statement of Facts

        CSPV cells and modules have been subjected to multiple

antidumping (“AD”) and countervailing (“CVD”) proceedings over the

last twelve years. These proceedings, and their corresponding scope

clarifications, have oriented the global solar supply chain in a manner

that gives rise to key issues in the instant appeal.

        A.    Solar Cells Orders

        Based on a petition filed by SolarWorld Industries America, Inc.

(“SolarWorld”), Commerce published AD/CVD orders on CSPV cells

from China and modules possessing CSPV cells from China near the

end of 2012.3 These orders are commonly referred to as “Solar Cells.”

Most significantly, Commerce established critical country-of-origin

language through the Solar Cells proceedings which stated that the

country of formation of the positive-negative (“p/n”) junction (wherein a



        3 See Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into

Modules from the People’s Republic of China: Amended Final Determination of Sales
at Less Than Fair Value, and Antidumping Duty Order, 77 Fed. Reg. 73018 (Dec. 7,
2012); Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into
Modules, from the People’s Republic of China: Countervailing Duty Order, 77 Fed.
Reg. 73017 (Dec. 7, 2012) (collectively, “Solar Cells Orders”).
                                           5
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wafer 4 becomes a CSPV cell capable of converting electricity)

determines the origin of the CSPV cell for AD/CVD scope purposes. 5

The p/n junction is formed “once the wafer is doped and an opposite

electrical orientation is imparted on the surface. When sunlight strikes

the cell, the positive and negative charge carriers are released, causing

electrical current to flow. It is at this point that the cell is capable of

generating electricity from sunlight.” Decision Memo, at 45, Appx1094.

Accordingly, if the p/n junction of a CSPV cell is formed in China, and

subsequently sent to South Korea to be further incorporated into a solar

module, the CSPV cell will be subject to the Solar Cells Orders because

it contains a Chinese CSPV cell. Conversely, if a Chinese wafer is sent




      4 By way of background, to form a CSPV cell, polysilicon is added with boron

and heated to form monocrystalline silicon. Decision Memo, at 41–42, Appx1090–
Appx1091. After being further crystallized and cooled, the ingot is formed, which is
subsequently sliced into thin “wafers.” Id. The sliced wafers then undergo
phosphorus diffusion, which gives the surface of the wafer its negative potential
electrical orientation. Id. The phosphorus layer and a boron-doped layer together
create the p/n junction of the cell. Id. The cell then undergoes additional chemical
processes to enhance sunlight absorption before silver paste is soldered onto the cell
to form electrical conduits. Id. After necessary testing, the completed CSPV cells are
then ready to be assembled into solar modules. Id.
       5 See Letter from Akin Gump Strauss Hauer & Feld LLP, “NextEra

Comments on Auxin’s Circumvention Ruling Request,” (May 2, 2022), at
Attachment 13 (citing Commerce Memorandum, “Scope Clarification: Antidumping
and Countervailing Duty Investigations of Crystalline Silicon Photovoltaic Cells,
Whether or Not Assembled Into Modules, from the People’s Republic of China,”
(Mar. 19, 2012) (“Scope Clarification Memo”)), Appx14431–Appx14442.
                                          6
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to South Korea where it is subsequently further processed into a CSPV

cell, it would fall outside the scope of the Solar Cells Orders because the

p/n junction was formed outside of China.

     In determining that the p/n junction formation was the significant

turning point for origin purposes, rather than an earlier process in

production, such as ingot slicing or wafer production, Commerce

explicitly rejected the petitioner’s attempt to enlarge the scope of the

orders to include CSPV cells manufactured in third countries using

Chinese wafers. Scope Clarification Memo, at 6–8, Appx14437–

Appx14440. Commerce determined that solar cells produced in third

countries using Chinese wafers (i.e., prior to the formation of the p/n

junction) would be outside the scope of the investigation. Id., at 8–9,

Appx14439–Appx14440. Further, in citing to country-of-origin issues,

Commerce instructed the petitioner that wholly separate AD/CVD

petitions would need to be filed to “address any dumping concerns it has

regarding solar modules/panels assembled from solar cells produced in

a third country.” Id., at 9, Appx14440.

     As such, the formation of the p/n junction has long been

considered the transformative step in the production process of a solar


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cell. For the last twelve years, solar industry leaders and producers

both in the United States and abroad have come to rely on this bright

line in guiding significant investment and development decisions.

Similarly, the U.S. International Trade Commission and U.S. Customs

and Border Protection have all consistently relied upon Commerce’s

determination that the p/n junction formation serves as the key origin

turning point when enforcing and weighing scope and origin issues. 6

      B.     Solar Products Orders

      On December 31, 2013, one year after the Solar Cells Orders were

published, the same petitioner, SolarWorld, brought AD and CVD

petitions against certain CSPV products from China and Taiwan (AD

only).7 In this case, petitioner sought a remedy against solar module


      6  See, e.g., Memorandum from Daniel Alexander to James Maeder,
Antidumping and Countervailing Duty Orders on Crystalline Silicon Photovoltaic
Cells from the People’s Republic of China: Sunspark Technology Inc. Scope Ruling,
Case Nos. A-570-979, C-570-980 (Oct. 23, 2020), Appx14509–Appx14515; Commerce
Memorandum, Final Scope Ruling on the Antidumping and Countervailing Duty
Orders on Crystalline Silicon Photovoltaic Cells from the People’s Republic of China:
ET Solar Inc. (A-570-979, C-570-980) (June 15, 2021), Appx14492–Appx14507; U.S.
Customs and Border Protection, Ruling H301813 (May 24, 2019), C.R. 97-105,
Appx5260-Appx5263; U.S. Customs and Border Protection, Ruling H301201 (Oct.
18, 2019), C.R. 89, Appx4078–Appx4081; Crystalline Silicon Photovoltaic Cells and
Modules From China, Inv. Nos. 701-TA-481 and 731-TA-1190, USITC Pub. 4360
(Nov. 2012) (Final) at 5-6, Appx15334-15335.
      7 Certain Crystalline Silicon Photovoltaic Products From the People's

Republic of China: Final Determination of Sales at Less Than Fair Value, 79 Fed.

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exports by Chinese producers that had switched from using Chinese

cells to using third-country cells, largely from Taiwan, as such goods

were outside the scope of the Solar Cells Orders. 8 Commerce

subsequently issued AD/CVD orders on February 18, 2015, commonly

referred to as the “Solar Products” orders. 9 These orders covered solar

modules produced in China using cells produced outside of China.10

      C.    Circumvention Inquiries

      On February 8, 2022, nearly a full decade after the Solar Cells

Orders, Auxin Solar Inc. (“Auxin”), a small U.S. producer of solar

modules, filed a request with Commerce to initiate country-wide

circumvention inquiries pursuant to 19 U.S.C. § 1677j(b)(1) to

determine whether CSPV cells and modules completed in Cambodia,

Malaysia, Thailand, or Vietnam using parts and components

manufactured in China were circumventing the Solar Cells Orders. See




Reg. 76970 (Dec. 23, 2014), and accompanying Issues and Decision Memo, at 6
(“Solar Products China Det.”).
      8 Solar Products China Det., at 17–18.
      9 See Certain Crystalline Silicon Photovoltaic Products From the People's

Republic of China: Antidumping Duty Order; and Amended Final Affirmative
Countervailing Duty Determination and Countervailing Duty Order, 80 Fed. Reg.
8592 (Feb. 18, 2015); Certain Crystalline Silicon Photovoltaic Products From
Taiwan: Antidumping Duty Order, 80 Fed. Reg. 8596 (Feb. 18, 2015).
      10 Id., at 11–16.


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Allegation from Cassidy Levy Kent LLP, “Auxin Solar Placing Petition

on Record,” (Feb. 18, 2022) (“Circ. Allegation”), Appx1231–Appx1326.

The circumvention allegation affected over $5 billion of solar imports

into the United States, consisting of over 80 percent of imported CSPV

products. See Circ. Allegation, at Exhibit 1, Appx1336. Upon filing its

circumvention request, numerous interested parties and U.S. solar

industry leaders expressed concerns that Commerce cannot unlawfully

expand the initial scope of the Solar Cells Orders through a

circumvention proceeding to include non-Chinese cells, which it

expressly excluded from scope of the Orders.11 Despite the

overwhelming opposition, Commerce initiated country-wide anti-

circumvention inquiries on the Solar Cells Orders on April 1, 2022. See

Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into

Modules, From the People’s Republic of China: Initiation of

Circumvention Inquiry on the Antidumping Duty and Countervailing

Duty Orders, 87 Fed. Reg. 19071 (Apr. 1, 2022), Appx17186-Appx17193.



      11 See e.g., Letter from Enel Green Power North America Inc, “Request to

Reject Anti-Circumvention Inquiries,” (Mar. 4, 2022) at 3–8, Appx13176–
Appx13182; Memorandum to the File, “Letter from Solar Energy Industries
Association,” (Mar 8, 2022), Appx13213–Appx13218; Memorandum to the File,
“Letter from United State Senators,” (Mar. 11, 2022), Appx13274–Appx13278.
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     On May 12, 2022, Commerce selected two mandatory respondents

for the Vietnam segment of the circumvention inquiries: Boviet Solar

Technology Co., Ltd. (“Boviet”) and Vina Solar Technology Company

Limited (“Vina Solar”). See Commerce Memorandum, “Circumvention

Inquiry with Respect to the Socialist Republic of Vietnam: Respondent

Selection,” (May 12, 2022), Appx5809-Appx5821.

     On December 1, 2022, Commerce preliminarily determined that

imports of CSPV cells and modules exported from Cambodia, Malaysia,

Thailand, and Vietnam using parts and components from China are

circumventing the AD/CVD Solar Cells Orders under 19 U.S.C. §

1677j(b)(1). Antidumping and Countervailing Duty Orders on

Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into

Modules, from the People’s Republic of China: Preliminary Affirmative

Determinations of Circumvention with Respect to Cambodia, Malaysia,

Thailand, and Vietnam, 87 Fed. Reg. 75221 (Dec. 8, 2022) (“Prelim.

Determination”), Appx1031-Appx1041, and accompanying preliminary

decision memorandum (Dec. 1, 2022) (“Prelim Memo”), Appx1000-

Appx1030.




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     As part of its preliminary determination, Commerce analyzed

whether “the process of assembly or completion” in Vietnam was “minor

or insignificant.” See 19 U.S.C. §§ 1677j(b)(1)(C), 1677j(b)(2).

Specifically, for each mandatory respondent, Commerce considered and

weighed the five statutory factors under 19 U.S.C. § 1677j(2): (A) the

level of investment in the foreign country; (B) the level of research and

development in the foreign country; (C) the nature of the production

process in the foreign country; (D) the extent of production facilities in

the foreign country; and (E) whether the value of the processing

performed in the foreign country represents a small proportion of the

value of the merchandise imported into the United States (“minor or

insignificant” factors). In applying this analysis, Commerce compared

the production of CSPV cells and modules by the Vietnam respondents

to that of their affiliated producers in China. Prelim Memo, at 16,

Appx1015.

     Commerce found that all five factors under 19 U.S.C. § 1677j(b)(2)

weighed against a finding of circumvention for Boviet. Id., at 16–22,

Appx1015–Appx1021. Accordingly, Commerce found that Boviet’s

process of completion or assembly in Vietnam was not minor or


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insignificant, and determined that the company was not circumventing

the Solar Cells Orders. Id.

     However, for Vina, Commerce found that three out of the five

“minor or insignificant” statutory factors weighed in favor of finding

circumvention, and it preliminarily determined that the company was

circumventing the Solar Cells Orders. Id. Specifically, Commerce found

that Vina’s level of investment, level of research and development, and

extent of production facilities in Vietnam were minor and insignificant

when compared to that of its Chinese affiliate. Prelim Memo, at 17, 18,

and 21, Appx1016, Appx1017, and Appx1020. However, similar to

Boviet, Commerce found that Vina’s value of processing in Vietnam

represented a significant portion of the value of the merchandise

imported into the United States, which weighed against a finding of

circumvention. Id., at 22, Appx1021.

     More importantly, for the “nature of production process” factor

under 19 U.S.C. § 1677j(2)(C), Commerce did not make any company-

specific findings based on respondent information. Id., at 18, Appx1017.

Instead, Commerce made a broad, “all-inclusive” finding as to the




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significant nature of cell and module production in Vietnam when

compared to ingot and wafer production in China:

     {R}elative to ingot and wafer production, solar cell and
     module production involves a greater number of stages, each
     requiring a high level of technological sophistication.
     Specifically, the process for turning wafers into solar cells
     requires an expensive, multi-stage assembly line requiring
     high-technological machinery and workers with strong
     technological knowledge. While ingot and wafer production
     require large amounts of upfront capital and technical
     capabilities, the ITC found solar cell production to be the
     “most capital intensive part of the manufacturing process,”
     and “a highly automated, capital intensive, and
     technologically sophisticated process, requiring skilled
     technicians and employees with advanced degrees.”

     Moreover, module production also involves a large number of
     varied inputs consumed in a complex, multi-step production
     process that requires precision, highly skilled workers, and
     accurate quality-testing equipment at multiple stages.
     Furthermore, the physical transformation of polysilicon
     rocks into wafers (i.e., the portion of the production process
     occurring in China) is less extensive than the transformation
     of wafers into solar modules (i.e., the portion of the
     production process occurring in third countries).86 Only a
     handful of inputs are used to convert polysilicon rocks into
     wafers, whereas converting a solar cell into a solar module
     requires approximately 100 different inputs.

     Additionally, Commerce previously noted that cell
     production is where the essence of a solar module is realized.
     Specifically, Commerce noted that once a wafer is doped and
     an opposite electrical orientation is imparted on the surface,
     it results in the creation of a p/n junction. When sunlight
     strikes the cell, the positive and negative charge carriers are
     released, causing electrical current to flow. It is at this point

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     that the cell is capable of generating electricity from
     sunlight.

     Therefore, Commerce has determined that it is only when
     the p/n junction is created that a wafer is no longer just a
     wafer, but is a solar cell that is subject to the Orders.
     Commerce also noted in the underlying investigation that,
     “{t}he essential component of solar modules/panels is the
     solar cell since the purpose of solar modules/panels is to
     convert sunlight into electricity and this process occurs in
     the solar cells. . .”

     Thus, we find that the nature of the production performed by
     the respondents in the third country is not minor or
     insignificant compared to either processing polysilicon into
     wafers, or ingots into wafers, in China, which does not weigh
     in favor of finding circumvention.

Id., at 20–21, Appx1019–2020. Commerce made this same finding

on the nature of the cell and module production process in all four

segments of the circumvention proceeding. Prelim Memo, at 17,

18, and 21, Appx1016, Appx1017, and Appx1020.

     On August 23, 2023, Commerce published its Final Determination

in the Federal Register. Commerce did not change its circumvention

analysis as to Boviet. Decision Memo, at 1, Appx1050. As for Vina,

Commerce applied adverse facts available (“AFA”) based on the

company’s non-cooperation at the on-site verification. Final

Determination, at 57420, Appx1217. Based on the AFA treatment of

Vina, as well as other non-responsive companies which did not submit

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Q&V responses, Commerce continued to find that CSPV cells and

modules produced in Vietnam using parts and components

manufactured in China and exported to the United States were

circumventing the Solar Cells Orders. Decision Memo, Appx1100-1102.

In applying AFA to Vina, Commerce broadly determined that four out of

the five “minor or insignificant” factors weighed in favor of

circumvention based on the company’s non-cooperation. Id. Critically,

Commerce did not modify its analysis of the “nature of the production

process” factor from the preliminary determination, and it continued to

find that production of CSPV cells and modules involves “significant,

extensive” processes. Id., Appx1090.

     Commerce applied its determination on a country-wide basis. Id.,

Appx1110-1113.

III. Standard of Review

     In reviewing a challenge to Commerce’s determination in a

circumvention inquiry, the Court “shall hold unlawful any

determination, finding, or conclusion found. . . to be unsupported by

substantial evidence on the record, or otherwise not in accordance with

the law.” 19 U.S.C. § 1516a(b)(1)(B)(i). Substantial evidence is “such


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relevant evidence as a reasonable mind might accept as adequate to

support a conclusion.” Universal Camera Corp. v. N.L.R.B., 340 U.S.

474, 477 (1951). It must be “more than a scintilla, and must do more

than create a suspicion of the existence of the fact to be established.”

N.L.R.B. v. Columbian Enameling & Stamping Co., 306 U.S. 292, 300

(1939). The Court “looks to the record as a whole, including any

evidence that fairly detracts from the substantiality of the evidence,”

Gallant Ocean (Thailand) Co. v. United States, 602 F.3d 1319, 1323

(Fed. Cir. 2010) (internal quotation marks and citation omitted), and

determines “whether the evidence and reasonable inferences from the

record support {the agency’s} finding.” Daewoo Elecs. Co. v. Int’l Union

of Elec., Tech., Salaried & Mach. Workers, AFL-CIO, 6 F.3d 1511, 1520

(Fed. Cir. 1993) (internal quotation marks and citation omitted).

Commerce must provide a “rational connection between the facts found

and the choice made,” Burlington Truck Lines, Inc. v. United States, 371

U.S. 156, 168 (1962), and “examine the relevant data and articulate a

satisfactory explanation for its action.” Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 30 (1983).




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      Commerce is also required by law to include in its final

determination “an explanation of the basis for its determination that

addresses relevant arguments{ } made by interested parties who are

parties to the investigation or review.” 19 U.S.C. § 1677f(i)(3)(A). See

also NMB Sing. Ltd. v. United States, 557 F.3d 1316, 1319 (Fed. Cir.

2009). Further, the Court will not sustain Commerce’s determination

when Commerce failed to address a party’s relevant argument. See

Nucor Corporation v. United States, 461 F. Supp. 3d 1374, 1380 (Ct.

Int’l Trade 2020) (citing Stein Industries Inc. v. United States, 365 F.

Supp. 3d 1364, 1371 (Ct. Int’l Trade 2019).

IV.   ARGUMENT

      A.   Substantial Evidence Does Not Support a Conclusion
           that the Process of Assembly or Completion in
           Vietnam is Minor or Insignificant

      As addressed below, Plaintiffs challenge Commerce’s finding

under 19 U.S.C. § 1677j(b)(1)(C), in which Commerce determined that

the process of assembly or completion in Vietnam is minor or

insignificant. Decision Memo, Appx1100. Yet, Commerce also

reconfirmed in these inquiries that CSPV cell and module

manufacturing (including the formation of the p/n junction) is a major,


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complex manufacturing process that does not amount to minor or

insignificant processing. Id., Appx1090-1094. Thus, Commerce’s

findings on the extensive complexity of CSPV cell and module

production is incongruent with its overall conclusion that the process of

assembly or completion in Vietnam is minor or insignificant. Further,

Commerce failed to explain or address any arguments raised on why its

findings on the “nature of the production process” should not result in a

negative finding of circumvention. Instead, Commerce broadly and

erroneously relied upon its AFA application on a company-specific basis

to support its affirmative circumvention determination.

           1. Legal Framework

     Unlike AD/CVD investigations, circumvention proceedings do not

impose injury requirements or require a showing of domestic industry

support. As such, any interested party, no matter how small, may file a

request to initiate a circumvention inquiry and bypass the typical

thresholds put in place for AD/CVD petitions. In order to expand the

scope of existing AD/CVD orders through a finding of circumvention via

third-country processing, Commerce must determine that every

statutory element under 19 U.S.C. § 1677j(b)(1) has been met:


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     (A)   Whether the merchandise imported into the United States
           from Cambodia, Malaysia, Thailand, and Vietnam is the
           same class or kind as merchandise that is subject to the
           Orders;

     (B)   Whether before importation into the United States, such
           merchandise is completed or assembled in a third country
           from merchandise that is subject to the Orders or produced
           with inputs from the country under the Orders;

     (C)   Whether the process of assembly or completion in the third
           country is minor or insignificant;

     (D)   Whether the value of the merchandise produced in the
           country subject to the Orders is a significant portion of the
           total value of the merchandise exported to the United States;
           and

     (E)   Whether the action is appropriate to prevent evasion of the
           Orders.

     Based on the plain language of the statute that uses the

conjunction “and” for the list of mandatory factors, if one of the above

statutory elements is missing, Commerce cannot reach an affirmative

finding of circumvention. Often, the third statutory element, 19 U.S.C. §

1677j(b)(1)(C), whether the process of assembly or completion is minor

or significant, is the most fact intensive. The statute further provides

five factors that Commerce must consider and weigh in determining

whether processing in the third country is “minor or insignificant:”

     (A)   the level of investment in the foreign country,


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      (B)   the level of research and development in the foreign country,

      (C)   the nature of the production process in the foreign country,

      (D)   the extent of production facilities in the foreign country, and

      (E)   whether the value of the processing performed in the foreign
            country represents a small proportion of the value of the
            merchandise imported into the United States.

19 U.S.C. §1677j(b)(2). The Statement of Administrative Action

explained that no single factor under § 1677j(b)(2) will be controlling. 12

Accordingly, Commerce’s practice has been to evaluate each of the

factors as it exists in the third country and consider the totality of its

analysis of such factors when making a determination. Prelim Memo, at

16, Appx1015.

            2. Commerce’s Analysis of the “Nature of Production
               Process” Compels a Negative Finding of
               Circumvention

      Commerce’s analysis of the significance of CSPV cell and module

production compels a negative finding of circumvention in this case.

This was notably the only factor that remained unchanged in the

Final Determination, because, unlike the other four factors under 19

U.S.C. § 1677j(b)(2), Commerce did not rely on any mandatory


      12 Uruguay Round Agreements Act, Statement of Administrative Action, H.R.

Rep. No. 103-316 (1994) (“SAA”), at 893.
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respondent data for its analysis of the nature of production process.

Decision Memo, at 41–45, Appx1090–Appx1094. Thus, while

Commerce’s AFA application as to Vina affected its analysis of the other

four factors under 19 U.S.C. § 1677j(b)(2), Commerce’s findings on the

“nature of production process” applied broadly to all CSPV cell and

module producers in all four segments of the circumvention proceeding.

Id. Regardless of any company-specific AFA findings, the significance of

this finding demonstrates that Commerce’s entire affirmative

circumvention determination is fundamentally incongruent and is

unsupported by substantial evidence.

     The logic of circumvention proceedings rests on the idea that

producers could simply exploit existing AD/CVD orders and set up a

“screwdriver” assembly in a third country to change the country of

origin. 13 A key component to a circumvention analysis, therefore, is

whether the process of assembly or completion is minor or insignificant.

If it is easy to set up manufacturing capabilities in a third country, it is

relatively easy to move production to other countries as a means to

evade existing AD/CVD orders.



     13 SAA, at 893–894.


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      However, if a production process is significant, extensive, and

capital intensive, it is much more difficult to demonstrate that

manufacturing was established in the third country as a means to

circumvent existing AD/CVD orders. Rather, producers that put in

significant capital, equipment, planning, and labor are investing

substantial resources to expand their operations to third countries in

order to grow and develop legitimate business opportunities. Thus, the

line between circumvention and non-circumvention critically rests on

the “minor or insignificant” nature of the production process. In other

words, if a manufacturing process is so extensive and complex, such is

the case with CSPV cells and modules, it logically cannot also be found

to be circumventing an existing AD/CVD order.

      When compared to the production of ingots and wafers, Commerce

made numerous key findings on the complex and extensive nature of

CSPV cell production through its comparison. First it noted that the

production of CSPV cells involves “significant technical requirements. . .

and changing technologies.” Decision Memo, at 43, Appx1092.

Specifically, it noted that:

      {W}hile “the technology used to produce ingots has not
      significantly changed since it was created, the same is not

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     true for solar cells. Technology improvements in the wafer-to
     cell process are responsible for most of the performance
     improvements of solar panels. Because of technological
     improvements to solar cells, module makers must regularly
     upgrade their production lines to avoid becoming obsolete.
     Hence, there are also meaningful technological requirements
     that must be met before producing solar cells.

Id. (internal quotations omitted). As for labor, Commerce found that

CSPV cell and module production requires significantly more direct

manufacturing workers as well as a skilled labor force, when compared

to ingot and wafer production. Id., at 44, Appx1093.

     More critically, Commerce emphasized the nature of production

performed in each production step of the CSPV cell process:

     The IEA Report specifies that while each segment of the
     manufacturing processes require various types of special
     equipment, solar cell production requires sophisticated,
     precise and advanced automation equipment, and solar
     module production requires highly automated machinery
     and accurate quality testing requirement at multiple stages.
     Meanwhile, the IAE Report indicates that ingot production
     uses simpler, more conventional equipment. Therefore,
     producing solar cells and modules in the inquiry country
     involves a multi-step production process that requires more
     precise and sophisticated equipment at multiple stages
     compared to producing ingots and wafers in China.

Id., at 44, Appx1093 (internal quotations omitted). Commerce also

emphasized that CSPV cell and module production requires over 100




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different inputs, “whereas converting polysilicon into wafers only

involves a handful of inputs.” Id. (emphasis added).

      These findings go to the heart of Commerce’s inquiry into whether

the process of assembly or completion in Vietnam is “minor or

insignificant.” Because record evidence overwhelmingly supports a

finding that the nature of the producing CSPV cells and modules is

significant, extensive, and complex, Commerce’s ultimate affirmative

circumvention finding is rendered completely illogical. Further, based

on Plaintiffs’ research, it appears that Commerce has never previously

reached an affirmative finding of circumvention where it also found that

the nature of production process was not minor or insignificant. 14

Because each statutory factor under 19 U.S.C. § 1677j(b)(1) must be met

to reach an affirmative determination of circumvention, and because

substantial evidence contradicts Commerce’s finding of one of these

statutory factors—that the process of assembly or completion in

Vietnam was “minor or insignificant,”— Commerce’s affirmative

circumvention determination cannot be upheld.


14 See e.g., Preliminary Negative Determination of Circumvention of the

Antidumping Order on Polyethylene Terephthalate Film, Sheet, and Strip From the
United Arab Emirates, 80 Fed. Reg. 26,229 (May 7, 2015), and accompanying IDM
at 7.
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            3. Commerce’s Failed to Explain Why Production in
               Vietnam Circumvents the Orders Despite the Fact
               that the Nature of Cell and Module Production Is
               Significant

      Commerce’s finding regarding the significant nature of CSPV cell

and module production, on its own, should have compelled a negative

circumvention determination. Trina and others argued as such in its

briefing to Commerce. 15 But, Commerce ignored this aspect of its

findings and instead relied on its AFA determination with regard to

non-responsive companies and failed to address or provide any

adequate explanation for its “minor or insignificant” finding under 19

U.S.C. §1677(b)(1)(C):

      While parties arguing that we should not find circumvention
      have made numerous comments and cited to information on
      the record and how we should treat and weigh it, we have
      not addressed these comments because they are moot
      because we have applied AFA to Vina and no party has
      argued that we should not apply AFA to the non-cooperating
      companies, including Vina.

Decision Memo, at 51, Appx1100.

      Commerce’s conclusory statement that its AFA finding renders its

“minor and insignificant” analysis moot is legally and factually


      15 See Trina Second Tranche Case Brief, (Apr. 19, 2023), PD 714, Appx21641-

Appx21664 (“Trina Brief”); see also NextEra Second Tranche Case Brief, (Apr. 20,
2023), CD 454, Appx12774-Appx12793 (“NextEra Brief”).
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incorrect. First, Commerce did not modify its finding on the significance

of the “nature of production process,” nor did it apply AFA to any part of

its analysis under this factor. Decision Memo, at 41–45, Appx1090–

Appx1094. Commerce cannot hide behind the company-specific AFA

applied elsewhere in its decision as a means to ignore arguments raised

by interested parties.

     Second, Commerce has an “obligation” to address parties’ relevant

arguments. See SKF USA Inc. v United States, 630 F.3d 1365 (Fed.

Circ. 2011) (“Commerce also has an obligation to address important

factors raised by comments from petitioners and respondents,”); see also

Stein Industries Inc. v. United States, 365 F.Supp.3d 1364, 1372 (Ct.

Int’l Trade 2019) (remanding to Commerce to consider an argument

that Commerce failed to address); Coalition of American Flange

Producers v. United States, 448 F.Supp.3d 1340, 1355 (Ct. Int’l Trade

2020) (remanding to Commerce after finding that it “did not address

information raised that may cast doubt on the reasonableness of a

position taken by the agency.”). Both Trina and NextEra explained why




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Commerce’s nature of processing determination compelled a negative

determination of circumvention. 16

      Commerce therefore erred by entirely sidestepping arguments

made by numerous parties that its analysis of the “nature of the

production process” should compel a negative finding of circumvention

under 19 U.S.C. § 1677j(b)(1)(C). This issue was material to Commerce’s

ultimate affirmative circumvention finding, and therefore Commerce

was obliged to address interested parties’ arguments. Commerce also

failed to address the fact that it reached conflicting conclusions which

cannot be reconciled—that a production process can be complex,

significant, and extensive, while also being “minor and insignificant.”

      For all these reasons, the Court should hold that Commerce’s

circumvention finding is not supported by substantial evidence. Given

the complexity of production CSPV cells and modules, the record does

not support an affirmative finding of circumvention, and Commerce

failed to address material arguments made by interested parties

articulating this inconsistency.




16 See Trina Brief, Appx21652-Appx21656; see also NextEra Brief, Appx12785-

Appx12788.
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     B.    Commerce’s Decision to Apply its Circumvention
           Finding on a Country-Wide Basis Is Not Supported by
           Substantial Evidence

     Commerce reached an affirmative country-wide circumvention

determination in Vietnam after determining that (1) one mandatory

respondent, Boviet, was not circumventing the Solar Cells Orders, and

(2) the other mandatory respondent, Vina, was circumventing the Solar

Cells Orders based solely on an application of AFA. Decision Memo, at

61–62, Appx1110–1111. Commerce also applied AFA to eight companies

which failed to timely submit Q&V questionnaire responses. Final

Determination, at 57425, Appx1222. The consequences of Commerce’s

country-wide determination means that non-examined, cooperative

Vietnamese exporters, such as Plaintiffs, are subjected to an affirmative

circumvention finding based on the AFA treatment of a select few

exporters. This AFA determination does not comply with the statute,

and Commerce may not extend its AFA findings to cooperative, non-

examined companies. Accordingly, Commerce’s decision to reach an

affirmative finding of circumvention on a country-wide basis solely from

the AFA treatment of a select few companies is not in accordance law or

supported by substantial evidence.


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            1. Legal Framework

      Under the statutory scheme covering the use of “facts otherwise

available,” Commerce must follow a two-part process. First, Commerce

must “identify a {factual} hole in the administrative record.” 17 19 U.S.C.

§ 1677e(a) provides that Commerce shall “use the facts otherwise

available in reaching the applicable determination” if:

      (1)   necessary information is not available on the record, or

      (2)   an interested party or other person–

            (A)     withholds information that has been requested by
                    {Commerce},

            (B)     fails to provide such information by the deadlines for
                    submission of the information or in the form and
                    manner requested, subject to subsections (c)(1) and (e)
                    of section 1677m of this title,

            (C)     significantly impedes a proceeding under this subtitle,
                    or

            (D)     provides such information but the information cannot
                    be verified as provided in section 1677m(i) of this title.

      Second, to apply an adverse inference in selecting the facts

available to make the applicable determination, Commerce must also

find that “an interested party has failed to cooperate by not acting to



      17 Catfish Farmers of America v. United States, Not Reported in Fed.Supp.,

2023 WL 4560815 (Ct. Int’l Trade 2023), at 8.
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the best of its ability. . .” 19 U.S.C. § 1677e(b)(1). In doing so,

Commerce “may use an inference that is adverse to the interests of that

party in selecting from among the facts otherwise available.” §

1677e(b)(1)(A) (emphasis added). Commerce has “wide, though not

unbounded, discretion to select adverse facts that will create the proper

deterrent to non-cooperation with its investigations.” See e.g.,

Papierfabrik August Koehler SE v. United States, 843 F.3d 1373, 1380

(Fed. Cir. 2016); Ta Chen Stainless Steel Pipe, Inc. v. United States, 298

F.3d 1330, 1339 (Fed. Cir. 2002)).

      The courts have repeatedly remanded Commerce determinations

that apply AFA-based outcomes to cooperative parties without

supporting record evidence. 18 For example, the Federal Circuit has


      18 See NextEra Brief, Appx12788-12791, citing Yangzhou Bestpak Gifts &

Crafts Co. v. United States, 716 F.3d 1370 (Fed. Cir. 2013) (vacating and remanding
the CIT affirmation of a separate rate calculated using the simple average of the de
minimis rate of a mandatory respondent and an AFA rate); Yantai Oriental Juice
Co. v. United States, 27 CIT 477 (2003) (remanding a remand redetermination that
calculated separate rates for companies that fully responded to Commerce’s
antidumping questionnaire but were not selected for investigation by using a
weighted average of the zero rate of the mandatory respondents and the China-wide
rate based on AFA); SKF USA Inc. v. United States, 675 F. Supp. 2d 1264 (Ct. Int’l
Trade 2009) (remanding application of AFA against a cooperative respondent based
on noncooperation by an unaffiliated supplier because “{t}he court cannot accept a
construction of 19 U.S.C. § 1677e(b) under which the party who suffers the effect of
the adverse inference is not the party who failed to cooperate”); Navneet Publ’ns
(India) Ltd. v. United States, 999 F. Supp. 2d 1354 (Ct. Int’l Trade 2014)
(remanding a final determination that calculated an all-others rate by unreasonably

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explained that “{a}ssigning a non-mandatory, separate rate respondent

a margin equal to over 120% of the only fully investigated respondent

with no other information is unjustifiably high and may amount to

being punitive, which is not permitted by the statute.” Yangzhou

Bestpak, 716 F.3d at 1379. These decisions demonstrate the court’s

longstanding position that “there is no basis in the statute for

penalizing cooperative uninvestigated respondents due solely to the

presence of non-cooperative uninvestigated respondents who receive . . .

AFA.” Amanda Foods, 647 F. Supp. 2d at 1381 (citing Yantai Oriental

Juice, 27 CIT at 487 (2003)).

      Moreover, when Commerce makes an “applicable determination”

under 19 U.S.C. § 1677e(a) using facts otherwise available and uses

adverse inferences under 19 U.S.C. § 1677e(b), such adverse inferences

may be “derived from –

      (A)   the petition,

      (B) a final determination in the investigation under this subtitle,


using the simple average of the rates assigned to the two mandatory respondents
and the AFA rates assigned to two uncooperative respondents); see also Amanda
Foods (Vietnam) Ltd., v. United States, 647 F. Supp. 2d 1368 (Ct. Int’l Trade 2009)
(remanding final results of review where Commerce assigned previously calculated
rates to separate rate respondents instead of assigning them the de minimis
margins calculated for the mandatory respondents).
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      (C) any previous review under section 1675 of this title or

      determination under section 1675b of this title, or

      (D) any other information placed on the record.”

      The Court of Appeals for the Federal Circuit (“CAFC”) has

addressed this issue. The CAFC explained the use of AFA “does not

obviate Commerce’s obligation to make the ‘applicable determination’

and it also does not obviate Commerce’s obligation to support any such

determinations with substantial evidence.” 19 The statute does not

permit Commerce to use AFA as a universal plug to reach conclusions

regarding the applicable determination. Rather, the statute permits

Commerce to make adverse inferences when choosing among the four

information sources identified in 19 U.S.C. § 1677e(b) to make the

appliable determination.

      2. Commerce’s Country-Wide Affirmative Circumvention
         Determination Is Not in Accordance with Law or
         Supported by Substantial Evidence

      Although Commerce made AFA findings as to unresponsive or

uncooperative companies, Commerce erred by also extending its AFA-

based decision to all non-examined companies through its country-wide


19 Changzhou Trina Solar Energy Co. v. United States, 975 F.3d 1318, 1329-29 (Fed.

Cir. 2020).
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application. Commerce never made any findings under 19 U.S.C.

§ 1677e(b)(1) that non-examined companies, including Plaintiffs, failed

to cooperate to the best of their abilities. Consequently, Commerce

impermissibly subjected all cooperative, non-examined companies to an

affirmative finding of circumvention without having found that such

non-examined companies failed to cooperate.

      Commerce asserts that its decision to apply an AFA-based

decision to non-responsive companies is consistent with its prior

decisions. Commerce relies on its decisions in the circumvention inquiry

of Uncoated Paper from China and its AD administrative reviews of

FDPSF form Taiwan and FDPSF from Korea. Decision Memo, at 62,

Appx1111. As explained in turn below, Commerce’s reliance on these

decisions is misplaced, and does not support its decision to stretch its

AFA-based findings to all non-examined companies in this inquiry.

      In the circumvention inquiry of Uncoated Paper from China,

Commerce applied AFA to five exporters of uncoated paper that did not

cooperate to Commerce’s requests for information. 20 Because three of


      20 See Certain Uncoated Paper From the People's Republic of China:

Affirmative Preliminary Determinations of Circumvention of the Antidumping and
Countervailing Duty Orders for Uncoated Paper Rolls, 85 Fed. Reg. 72624 (Nov. 13,

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these exporters represented the largest volume of uncoated paper rolls

exported to the United States from China, Commerce applied its

affirmative decision on a country-wide basis. Id. Yet, this case has key

factual differences from the circumvention inquiry on appeal here. In

Uncoated Paper from China, Commerce applied AFA to all three

selected mandatory respondents. Id., at 7. In fact, none of the

mandatory respondents even responded to Commerce’s circumvention

questionnaires. Id. In addition, Commerce only issued Q&V

questionnaires to seven producers, and its AFA findings applied to five

out of seven companies from which it sought information. Id., at 2.

      Here, Commerce issued Q&V questionnaires to 26 companies, and

applied AFA to eight such companies. 21 More critically however, is that

Commerce did not apply AFA to all mandatory respondents. Instead,

Commerce reached a negative circumvention finding for one mandatory


2020) and accompanying Preliminary Issues and Decision Memorandum, at 14–15
(Nov. 6, 2020) (“Uncoated Paper from China Circ. Det.”), unchanged in Certain
Uncoated Paper From Brazil, the People's Republic of China, and Indonesia:
Affirmative Final Determinations of Circumvention of the Antidumping Duty Orders
and Countervailing Duty Orders for Certain Uncoated Paper Rolls, 86 Fed. Reg.
71025 (Dec. 14, 2021).
       21 See Memorandum to Robert Bolling, Acting Director AD/CVD Operations,

Office IV, “Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled into
Modules, from the People’s Republic of China- Circumvention Inquiry with Respect
to the Socialist Republic of Vietnam: Respondent Selection,” at 3 (May 12, 2022),
Appx5811.
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respondent, which renders its country-wide application of the

affirmative finding even more consequential.

      In FDPSF form Taiwan and FDPSF from Korea, Commerce issued

antidumping duty orders based on its AFA determinations for one or

more uncooperative mandatory respondents even though it calculated a

zero percent dumping margin for the only cooperative mandatory

respondent.22 But in that situation, issuance of the orders was the only

way that Commerce could apply a determination to the non-cooperative

parties that would be adverse to those offending parties. The orders

were a necessary outcome in order to impose duties on the non-

cooperating parties. Without the orders, the parties’ non-cooperation

would have been rewarded. But that is not the case in a circumvention

determination. In this case, Commerce could have reached affirmative

circumvention determinations based on AFA and applied those

determinations only to the parties that failed to cooperate.




      22 Fine Denier Polyester Staple Fiber From the Republic of Korea: Final

Affirmative Determination of Sales at Less Than Fair Value, 83 Fed. Reg. 24743,
(May 30, 2018), and Fine Denier Polyester Staple Fiber From Taiwan: Final
Affirmative Determination of Sales at Less Than Fair Value 83 Fed. Reg. 24745,
24756 (May 30, 2018).
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     Moreover, in a prior appeal of an affirmative circumvention

determination, this Court determined that Commerce’s application of

an AFA-based country-wide antidumping cash deposit rate was

inconsistent with the remedial nature of the circumvention statute. See

Shelter Forest International Acquisition, Inc. v. United States, 497

F.Supp.3d 1388, 1403 (Ct. Int’l Trade 2021) (“Commerce shall provide

Plaintiffs with an opportunity to demonstrate whether they qualify for a

rate that is not derived from an AFA rate or otherwise explain why it is

permissible not to provide Plaintiffs with this opportunity.”).

     Accordingly, Commerce may not apply AFA-based decisions

against companies which were not initially subject to the original

adverse finding. Doing so would be contrary to the AFA provision under

§ 1677e(b)(1), which requires a finding that “a party” has failed to

cooperate to the best of its ability, not that an entire group of non-

examined respondents shall be deemed culpable of the same lack of

cooperation. Commerce’s country-wide application of its AFA-based

affirmative circumvention finding is not permitted by the statute and

should be remanded.




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     Moreover, Commerce’s country-wide affirmative circumvention

determination relied on findings not supported by substantial evidence.

In defending its decision to apply its AFA determination on a country-

wide basis, Commerce explained that:

     Although Commerce may limit its examination to individual
     respondents in a country-wide circumvention inquiry, it
     cannot limit decision solely to the results of the analysis of
     the individually examined respondents, but must consider
     the entire results of its inquiry. The results of this inquiry
     show that multiple firms in Vietnam are circumventing the
     Orders. Therefore, we have continued to reach a country-
     wide affirmative circumvention determination.

Decision Memo, at 62, Appx1111. However, Commerce’s explanation is

not based on substantial evidence. First, Commerce’s inquiry did not

reveal that “multiple firms in Vietnam are circumventing the Orders.”

Commerce applied AFA to one mandatory respondent, Vina, based on

its refusal to participate in verification. Final Determination, at 57420,

Appx1217. Second, Commerce applied AFA to companies that did not

submit a response to Commerce’s Q&V questionnaires. Id. In other

words, Commerce’s final determination made no company-specific

findings on whether or not these companies were circumventing the

Solar Cells Orders. In fact, Commerce’s only factual finding in the final

determination, related to the significant nature of the CSPV cell and

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module production process in Vietnam, applied broadly to all CSPV cell

and module producers, regardless of any company-specific AFA

application. Decision Memo, at 41, Appx1090 (explaining that

Commerce’s finding “is not specific to any one respondent but

encompasses the essence of manufacturing performed by all the

respondents.”). Notably, this finding applied equally to the cooperative

non-examined Vietnamese producers and exporters, and thus the only

finding on the record that directly bears on whether those companies

are circumventing weighs strongly against any affirmative

circumvention finding.

     Because Commerce made no factual findings that “multiple firms

in Vietnam” were circumventing the Solar Cells Orders, its affirmative

circumvention finding is not supported by substantial evidence. Instead,

in relying on its application of AFA, Commerce broadly found that four

out of the five “minor or insignificant” factors weighed in favor of

finding circumvention. Decision Memo, Appx1100-1102. But Commerce

did not actually address the statutory factors necessary for reaching the

applicable determination. Instead, Commerce simply claimed that such

issues were moot. Id., at 51, Appx1100. Because Commerce did not


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address the respondent parties’ arguments regarding the minor

processing criteria and it did not identify what information upon which

it was relying to make the applicable determination, particularly with

respect to the non-examined cooperative producers and exporters,

Commerce’s decision should be remanded.

V.     CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the

Court grant their Motion for Judgment on the Agency Record and

remand this case to Commerce with instructions consistent with the

points set forth in this Memorandum.


                                    Respectfully submitted,

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                                  Company Limited, and Trina Solar
                                  Co., Ltd.

Dated: June 25, 2024




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 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
   BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
______________________________________________
                                               )
TRINA SOLAR (VIETNAM) SCIENCE &                )
TECHNOLOGY CO., LTD., ET AL.,                  )
                                               )
                     Plaintiffs,               )
                                               )
                and,                           ) Ct. No. 23-00228
                                               )
FLORIDA POWER & LIGHT COMPANY,                 )
                                               )
                     Plaintiff-Intervenor,     )
                                               )
               v.                              )
                                               )
UNITED STATES                                  )
                                               )
                     Defendant,                )
                                               )
               and,                            )
                                               )
AUXIN SOLAR INC., ET ANO.,                     )
                                               )
                     Defendant-Intervenors.    )
______________________________________________ )

                 CERTIFICATE OF COMPLIANCE

     The undersigned counsel at Trade Pacific PLLC hereby certifies

that the Memorandum of Law in Support of Plaintiffs’ Motion for

Judgment Upon the Agency Record, dated June 25, 2024, complies with

the word-count limitation described in the Standard Chambers
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Procedures. The memorandum of law contains 8994 words according to

the word-count function of the word-processing software used to prepare

the memorandum.

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Dated: June 25, 2024
